Case 0:20-cv-60757-WPD Document 77 Entered on FLSD Docket 04/12/2021 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                       CASE NO. 20-60757-CIV-DIMITROULEAS
  FLORIDA EMERGENCY PHYSICIANS
  KANG & ASSOCIATES, M.D., INC., et al.,

         Plaintiffs,
  vs.

  UNITED HEALTHCARE OF FLORIDA,
  INC., et al,

        Defendants.
  _____________________________________/

                       ORDER REMANDING CASE TO STATE COURT

         THIS CAUSE is before the Court upon a review of the record.

         On March 16, 2021, the Court entered an Order dismissing without prejudice Count I, II,

  and III of Plaintiffs’ Amended Complaint which included Plaintiff’s claims for violations of

  RICO, 18 U.S.C. § 1962(c) and § 1962(d). [DE 68]. The Court granted Plaintiff leave to file a

  second amended complaint. Id. On March 30, 2021, Plaintiff filed a notice stating that it did not

  intend to amend its Amended Complaint. Subsequently, the Court ordered Defendants to show

  cause why the remaining state law claims in this matter should not be remanded to state court.

  Defendants UMR, Inc., UnitedHealthcare of Florida, Inc., and UnitedHealthcare Insurance

  Company do not state any clear opposition to the Court remanding the remaining claims, request

  that the Court first enter an order pursuant to Rule 54(b) as to Counts I and II of Plaintiffs’

  Amended Complaint, which the Court entered earlier today. There are no remaining claims as to

  Defendant Multiplan, Inc. [DE 68].

         Accordingly, it is ORDERED AND ADJUDGED as follows:
Case 0:20-cv-60757-WPD Document 77 Entered on FLSD Docket 04/12/2021 Page 2 of 2




         1. The Clerk is directed to REMAND this case to the 17th Judicial Circuit Court, in and

             for Broward County, Florida;

         2. This Clerk is directed to CLOSE this case and DENY all pending motions as moot.

         DONE AND SIGNED in Chambers at Fort Lauderdale, Broward County, Florida, this

  12th day of April, 2021.




  Copies furnished to:
  All Counsel of Record
